         Case 1:22-mj-00057-GMH Document 1-1 Filed 03/11/22 Page 1 of 7




                                   STATEMENT OF FACTS

        Your affiant, Russell G. Warlick, is a Special Agent with the Federal Bureau of
Investigation. As part of my duties as a Special Agent, I am currently tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol on January 6, 2021. On that date, the exterior plaza of the U.S. Capitol was also closed to
members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of



                                                 1
         Case 1:22-mj-00057-GMH Document 1-1 Filed 03/11/22 Page 2 of 7




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On or about January 7, 2021, NANCY BARRON contacted the FBI to self-report that she
was inside the U.S. Capitol building on January 6, 2021. The affiant conducted an in-person
interview of BARRON on January 11, 2021.

        After, the FBI obtained video evidence of BARRON on Capitol grounds and inside the
Capitol building. The affiant confirmed that the individual in the stills below is BARRON based
on my observations of her during the in-person interview and based on the additional investigative
steps, detailed below.

        In one video obtained by the FBI, BARRON, while on Capitol grounds, approaches a line
of law enforcement officers that are attempting to prevent rioters from progressing further toward
the Capitol building. The video shows BARRON moving to the front of the group of rioters. In
the video, the crowd appears to be pushing forward toward the Capitol. As the crowd pushes past
the law enforcement officers, BARRON is near the front of the line of rioters, rushing up the stairs
towards the Capitol building. Screenshots from the video are provided below. BARRON is circled
in red.




                                                 2
        Case 1:22-mj-00057-GMH Document 1-1 Filed 03/11/22 Page 3 of 7




In the same video, BARRON appears to reach the top of the stairs and stops near the East Rotunda
doors.

      In a separate video, BARRON can be seen waving a flag on the platform outside the East
Rotunda doors. A screenshot from the video is below. BARRON is circled in red.




        The FBI also recovered records from BARRON’s Facebook from a search warrant served
on Facebook. The records included a video that appears to have been taken by BARRON on the
side of the East Rotunda doors as rioters were attempting to breach the doors. A still from that
video is below. In that video, she can be heard yelling “Go in” several times followed by “Charge.”
Legal records confirmed that BARRON was the subscriber of the Facebook account.




                                                3
        Case 1:22-mj-00057-GMH Document 1-1 Filed 03/11/22 Page 4 of 7




       Surveillance video from the U.S. Capitol shows BARRON enter the Capitol building at
approximately 2:38 p.m. through the East Rotunda doors. BARRON appears to have been helped
through the doors by other rioters entering the building. A still from Capitol surveillance footage
is below, and BARRON is circled in red.




                                                4
        Case 1:22-mj-00057-GMH Document 1-1 Filed 03/11/22 Page 5 of 7




       After entering the Capitol, BARRON shot another video, which the FBI recovered from
Facebook records, in which she states “Made it in.” The still below from that video shows her
expression as she made the comment.




         BARRON then continued filming for another 4 minutes as she walked through the Capitol
building. While filming, she commented occasionally including stating, “Where is fuckin’ Pelosi,
Fuck (unintelligible)” and “Is this Pelosi’s stuff down here.” BARRON also joins the crowd in
chanting, “Our house. This is our house.” As she approaches the House Chamber doors, someone
in the crowd questions whether they can enter. BARRON replies, “Oh we can get in. You can get
in. If you push hard enough, you can get in.” Before the video ends, BARRON is walking up a
set of stairs near the House Chamber and yells, “Fuck Nancy Pelosi and fuck Chuck Schumer. Got
to drag those cocksuckers down.”

        Capitol surveillance footage shows BARRON walked into the Rotunda South area at
approximately 2:38 p.m., into the Statuary Hall at approximately 2:41 p.m., through the Statuary
Hall Connector at approximately 2:42 p.m., into the Main Door Hall (House Chamber area) at
approximately 2:43 p.m., and toward the East Stairs at approximately 2:43 p.m. In all the videos,
she is wearing a beanie with “MAGA” in white letters, a gray sweatshirt, and a green coat.

       During the FBI’s investigation of the events of January 6, 2021, the FBI obtained
information that a device associated with Google email account n******0@gmail.com was




                                               5
         Case 1:22-mj-00057-GMH Document 1-1 Filed 03/11/22 Page 6 of 7




present at the U.S. Capitol on January 6, 2021.1 Records from Google list BARRON as the
subscriber of the account.

       As mentioned above, the FBI conducted an in-person interview of BARRON on January
11, 2021. During the interview, BARRON stated that she—while wearing a beanie with “MAGA”
in white letters, a gray sweatshirt, and a green coat—walked up to the steps of the U.S. Capitol
building, picked up a flag from the ground, and waved the flag, consistent with the stills provided
above. But BARRON falsely alleged during the interview that she was pushed into the building
and that she attempted to find an exit as soon as she entered.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
NANCY BARRON violated 18 U.S.C. §§ 1752(a)(1) and (2), which make it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.




1
 Google estimates device location using sources including GPS data and information about nearby
Wi-Fi access points and Bluetooth beacons. This location data varies in its accuracy, depending
on the source(s) of the data. As a result, Google assigns a “maps display radius” for each location
data point. Thus, where Google estimates that its location data is accurate to within 10 meters,
Google assigns a “maps display radius” of 10 meters to the location data point. Finally, Google
reports that its “maps display radius” reflects the actual location of the covered device
approximately 68% of the time.
                                                 6
         Case 1:22-mj-00057-GMH Document 1-1 Filed 03/11/22 Page 7 of 7




        Your affiant submits there is also probable cause to believe that NANCY BARRON
violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which make it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Russell G. Warlick
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 11th day of March 2022.                                  Digitally signed by G.
                                                                      Michael Harvey
                                                                      Date: 2022.03.11
                                                      _________________________________
                                                                      11:16:58 -05'00'
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE




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